Case: 2:17-cv-00105-ALM-KAJ Doc #: 754 Filed: 06/25/18 Page: 1 of 2 PAGEID #: 11969




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 ROVER PIPELINE LLC,                                )   Case No.: 2:17-CV-00105
                                                    )
        Plaintiff,                                  )   Judge: Algenon L. Marbley
                                                    )
 vs.                                                )   Magistrate: Kimberly A. Jolson
                                                    )
 5.46 ACRES OF LAND, MORE OR LESS,                  )   NOTICE OF SERVICE OF
 IN BELMONT COUNTY, OHIO                            )   DEFENDANT MICHAEL E.
 (PIPELINE RIGHT-OF-WAY SERVITUDE)                  )   ABEREGG, JR.’S RESPONSES TO
 MARK C. AND TRACY J. KANZIGG                       )   PLAINTIFF’S FIRST SET OF
 AND UNKNOWN OWNERS, et al.                         )   REQUESTS FOR ADMISSION
                                                    )
        Defendants.                                 )

        Now comes Defendant Michael E. Aberegg, Jr. (“Defendant”), by and through counsel,

 and hereby gives this Court notice that on June 22nd, 2018, Defendant served his Responses to

 Plaintiff’s First Set of Requests for Admission.

                                                    Respectfully submitted,

                                                    /s/ Randall J. Moore
                                                    Randall J. Moore (0018337)
                                                    rmoore@ralaw.com
                                                    David J. Wigham (0059672)
                                                    dwigham@ralaw.com
                                                    Timothy B. Pettorini (0070107)
                                                    tpettorini@ralaw.com
                                                    Roetzel & Andress, LPA
                                                    222 South Main Street
                                                    Akron, OH 44308
                                                    Telephone: 330.376.2700
                                                    Attorneys for Defendant Michael E.
                                                    Aberegg, Jr.




 12753428 _1
Case: 2:17-cv-00105-ALM-KAJ Doc #: 754 Filed: 06/25/18 Page: 2 of 2 PAGEID #: 11970




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of June 2018, the foregoing Notice of Service of

 Defendant Michael E. Aberegg, Jr.’s Responses to Plaintiff’s First Set of Requests for Admission

 was filed electronically with the Court. Notice of this filing was sent to all registered persons by

 operation of the Court’s electronic filing system. Parties may access this filing through the

 Court’s system.




                                                      /s/ Randall J. Moore
                                                      Randall J. Moore (0018337)
                                                      Attorney for Defendant Michael E. Aberegg,
                                                      Jr.




 12753428 _1                                      2
